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                           UNITED STATES DISTRICT COURT                         r•:' -        n.
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                           SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
     vs.                                        )   CASE NO. CR507-15
                                                )
JIMMY OWEN WHiTE,                               )
                                                )
       Defendant.                               )


                                           ORDER

       On consideration of Defendant White's motion to dismiss him from the indictment, and

being advised that Defendant White is now deceased, the government having consented to the

defendant's motion, it is hereby

       ORDERED that the defendant's Motion is granted, and Jimmy Owen White is hereby

dismissed from the indictment with prejudice.

       This   1iay of..Za. , 2008.

                                                        S DISTRICT C
                                            SOUTHERN DISTRICT OF GEORGIA
